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UNITED S'I`ATES DIS'I`RICT COURT
F()R THE EASTERN DISTRICT OF MISSOURI

 

CARROLL FRENCH
Plaintiff,

vs. Civil Action No.

MEDECREDIT CORPORA'I`ION
Defendant,

 

COMPLAINT AND DEMAND FOR JURY TRIAL

I. INTRODUCTION

i. This is an action for actual and statutory damages brought by plaintiff Carrcli French,
an individual consumer, against defendant Medicredit Corporation for violations of the
Fair Debt Collectiori Practices Act, IS U.S.C. § 1692 et seq. (hereinafter “FDCPA”)

Which prohibits debt coifectors from engaging in abusive, deceptive, and unfair practices.

II. .IURISDICTION

2. .¥urisdiction ofthis court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. §§ 1331 and
1337. Venue in this District is proper in that the Defendant transacts business here and

the conduct complained of occurred here.

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III. PAR TIES

3. Piaintit`f, Carroll l?rench is a consumer, a natural person allegedly obligated to pay any

debt, residing in the state oi"NeW MeXico.

4. Dei`endant, l\/ledicredit Corporation is a foreign corporation engaged in the business of
collecting debt in this state With its principal place of business located in Saint Louis
County, at 190 Carcndelet Plaza, Suite 150, St. Louis, Missouri 63105.. The principal
purpose of Defendant is the collection of debts in this state and Defendant regularly

attempts to collect debts alleged to be due another

5. Defendant is engaged in the collection of debts from consumers using the mail and
telephone Det`endant regularly attempts to collect consumer debts alleged to be due to
another. Defendant is a “debt coilector” as defined by the FDCPA, 15 U.S.C. §

1692&(6).

IV. FACTUAL ALLEGATIONS

6. Upon information and belief, Within one year prior to the filing of this compiaint,

Dcfendant placed collection calls to Carroll, seeking and demanding payment for an

alleged consumer debt owed under an account number.

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7. The debt that Defendant is attempting to collect on is an alleged obligation of a
consumer to pay money arising out cf a transaction in vvhich the money, property,
insurance or services Which are the subject ot` the transaction are primarily t`or personal,
tamily, or household purposes, Whether or not such obligation has been reduced to

judgment

8. Upon information and beliei`, Defendant began contacting Carroll and also placing

collection calls to Carroll in l\/Iay of 201 l.'

9. Upon information and belief, Defendant has continued to harass Carroll, calling and
knowing it Would annoy birn, looking for a ‘Katy Crurnp’; even though Carroll has

already informed Defendant that the debt is neither his nor his Wife’s.

10. Carroll has even sent Defendant a letter via certified mail, Which Defendant both

received and signed for, telling it to stop calling hung yet Defendant continues to call.

il. Defendant utilized unfair and unconscionable means to collect on Carroll’s alleged
debt, by continuing to call him, Without his consent, after already having been given
reason to know on multiple occasions that the debt is neither his nor anyone’s in his

household

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lZ. As a result of the acts alleged above, Carroll suffered emotional distress resulting in

him feeling stressed, and upset, amongst other negative emotions

V. CLAIM FOR RELIEF

13. Plaintit`f Carroll Prench repeats and realleges and incorporates by reference to the

foregoing paragraphs

14. Defendant violated the FDCPA. Defendant’s violations include, but are not limited

to, the following:

(a) Defendant violated § l 692f of the FDCPA by using unfair or
unconscionable means in connection with the collection of an alleged

debt; and

(b) Defendant violated §I 692d(5) of the FDCPA by causing Plaintit`f’s
telephone to ring continuously with intent to annoy, abuse, or harass, the
natural consequence of Which Was to harass, oppress and/or abuse

Plaintifi".

lS. Defendant’s acts as described above Were done intentionally with the purpose of

coercing Carroll to pay the alleged debt

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16. As a result of the foregoing violations of the ‘§DCPA, Defendant is liable to the

plaintiff Carroll for actual damages, statutory damages, and costs and attorney fees

WHBREFORE, Plaintit`t` Carroll French respectfully requests that judgment be entered

against defendant l\/ledicredit Corporation, for the following:

A. Actual damages;
B. Statutory damages pursuant to l5 U.S.C. § l692k.
C. Costs and reasonable attorney fees pursuant to l5 U.S.C. § 16921<;

D. Y`or such other and further relief as the Court may deem just and proper.

Dated: May 29, 2012 RESPECTFULLY SUBMITTED,
By: /s/ Marl< l). Mclner, Esg.
PRlCE LAW GROUP, APC
2210 W. 75th street
Prairie Village, KS 66208
"l"oli Free: (800) 884-6000
Direct: (913) 529-l474
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l\/lissouri Bar Nurnber: 62189

Attorney for Plaintiff Carroll French.
DEMAND FOR .IURY TRIAL

Please take notice that plaintiff Carroll French demands trial by jury in this action

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AO 440 {Rev. 12."09) Summons in a Civil Action

UN;TED STATES DISTRICT CoURr

for the

Eastern District of Missouri

CARROLL FRENCH

 

Plainty_?"
v. Civii Action No.

MED|CREDE`F CORPORATEON

 

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Defendam

SUMMONS IN A CIVIL ACTION

TOZ (Defendant’s name andaddress) MEDECRED|T CORPORATION
190 Caronde|et P§aza, Suite 150
St. Louis, Missouri 63105

A fawsuit has been tiled against you

Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(Z) or {3) -- you must serve on the piaintiff an answer to the attached complaint or a motion under Ruie iZ of
the Federal Rules of Civii Procedure. The answer or motion must be served on the plaintiff or piaintifi’s attorney,
whose name and address are:

I\/lark D. i\/Eolner, Esq. (Missouri Bar t\lumber 62189)
PR|CE i_/\W GROUF’, APC

2210 W. 75th Street

Prairie Vi|lage, KS 66208

To§£ Free: (BOO) 884~6000

If you faii to respond, judgment by default will be entered against you for the relief demanded in the complaintl
You aiso must tile your answer or motion with the court

CLERK OF COURT

Date:

 

 

Signarure of C!erk or Deputy Clerk

